Case 6:24-bk-12650-RB Doc5_ Filed 05/14/24 Entered 05/14/24 13:35:43 Desc

Main Document Page 1 of 10

MUU LMU COL Leceimcom(e (“Tilt Azole mer: lot ok

JUAN MARQUIS JOHNSON

First Name Middle Name Last Name . . 2 ence ee nena naa

Debtor 2

powee, if filing) First Name Middle Name Last Name F i L E D

United States Bankruptcy Court for the: . Districtof

* f > ; (State) AY { 4 2024

Case number 6:24 Bk l. C50

(tf known) PTCY COURT
RICT OF CALIFORNIA

Deputy Clerk
_. v
Official Form 101A YY

Initial Statement About an Eviction Judgment Against You

12/15

File this form with the court and serve a copy on your landlord when you first file bankruptcy only if:

you rent your residence; and
your landlord has obtained a judgment for possession in an eviction, unlawful detainer action, or
similar proceeding (called eviction judgment) against you to possess your residence.

Landlord’s name BRECKENRIDGE PROPERTY FUND 2016, LLC
Landlord’s address 71 0 MYRTLE AVE #600

Number Street

MONROVIA CA 91016
City State ZIP Code

If you want to stay in your rented residence after you file your case for bankruptcy, also complete the certification below.

Za Certification About Applicable Law and Deposit of Rent

| certify under penalty of perjury that:

A Under the state or other nonbankruptcy law that applies to the judgment for possession (eviction judgment),
| have the right to stay in my residence by paying my landlord the entire delinquent amount.

—] Ihave given the bankruptcy court clerk a deposit for the rent that would be due during the 30 days after | file
the Voluntary Petition for individuals Filing for Bankruptcy (Official Form 101).

x OO x

Seay of Debtor 1 L) Signature of Debtor 2

Date 05/13/2024 Date
MM/ DD /YYYY MM/ DD /YYYY

Stay of Eviction: (a) First 30 days after bankruptcy. If you checked both boxes above, signed the form to certify that both apply,
and served your landlord with a copy of this statement, the automatic stay under 11 U.S.C. § 362(a)(3) will
apply to the continuation of the eviction against you for 30 days after you file your Voluntary Petition for
Individuals Filing for Bankruptcy (Official Form 101).

(b) Stay after the initial 30 days. If you wish to stay in your residence after that 30-day period and continue to
receive the protection of the automatic stay under 11 U.S.C. § 362(a)(3), you must pay the entire delinquent
amount to your landlord as stated in the eviction judgment before the 30-day period ends. You must also fill
out Statement About Payment of an Eviction Judgment Against You (Official Form 101 B), file it with the
bankruptcy court, and serve your landlord a copy of it before the 30-day period ends.

Check the Bankruptcy Rules ( http:/Awww.uscourts. gov/rules-policies/current-rules-practice-procedure) and the local court’s website (to find
your court’s website, go to http:/Avww.uscourts.gov/court-locator) for any specific requirements that you might have to meet to serve this
statement. 11 U.S.C. §§ 362(b)(22) and 362(!)

Official Form 101A Initial Statement About an Eviction Judgment Against You
- Case.6:24-Nk-12650-RB Doc5 Filed 05/14/24 Entered 05/14/24 13:35:43 Desc
’ Main Document Page 2 of 10

TO (Name and Address): LEVYING OFFICER (Name and Address):
OCCUPANT Riverside County Sheriff's Office
5867 Horse Canyon Rd. 4095 Lemon St., 4th Floor
Riverside, CA 92509 Riverside, CA 92501

(951) 955-2420
(951) 955-6155

EMAIL

NAME OF COURT, JUDICIAL DISTRICT or BRANCH COURT, IF ANY: California Relay Service Number

Riverside Superior Court (800) 735-2929 TDD or 711

505 S. Buena Vista Ave Suite 201
Corona, CA 92882

PLAINTIFF: COURT CASE NO:

Breckenridge Property Fund 2016, LLC

DEFENDANT:
Juan Marquis Johnson

UDCO2400050

LEVYING OFFICER FILE NO:

Notice to Vacate 2024102878

By virtue of the Writ of Execution for Possession/Real Property (eviction), issued out of the above court, you are hereby ordered to
vacate the premises described on the writ.

5867 Horse Canyon Rd.
Eviction Address: Riverside, CA 92509

Final notice is hereby given that
possession of the property must be Wednesday, May 15, 2024 06:01 am
turned over to the landlord on or before:

Should you fail to vacate the premises within the allotted time, | will immediately enforce the writ by removing you from the
premises. All personal property upon the premises at the time will be turned over to the landlord, who must return said
personal property to you upon your payment of the reasonable cost incurred by the landlord in storing the property from
the date of eviction to the date of payment. If the property is stored on the landlord's premises, the reasonable cost of
storage is the fair rental value of the space necessary for the time of storage. If you do not pay the reasonable storage
costs and take possession within fifteen (15) days, the landlord may either sell your property at a public sale and keep
from the proceeds of the sale the costs of storage and of the sale (1988 CIV), or, if the property is valued at less than
$700.00, the landlord may dispose of your property or retain it for his own use. (715.010(b)(3), 1174 CCP)

If you claim a right of possession of the premises that accrued prior to the commencement of this action, or if you were in
possession of the premises on the date of the filing of the action and you are not named on the writ, complete and file
the attached Claim of Right of Possession form with this office. No claim of right to possession can be filed if the
prejudgment claim of right to possession was served as indicated on the writ unless the eviction is the result of a
foreclosure.

Chad Bianco
Sheriff - Coroner

. Xv nh

Sheriffs Authorized Age

Original 914766

ic} CountySulte Sheriff, Teleosoft, Inc

Case 6:24-bk-12650-RB Doc5_ Filed 05/14/24 Entered 05/14/24 13:35:43 Desc

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Main Document

Page 3 of 10

ATTORNEY OR PARTY WITHOUT ATTORNEY: STATE BAR NO.:

nNaME: Sam Chandra SBN 203942 (626)

FIRM NAME: Law Offices of Sam Chandra, APC

STREET ADORESS: 710 S$. Myrtle Ave. # 600

ary: Monrovia STATE: CA

TELEPHONE NO.: FAX NO.:

emai adoress: Fax@Chandra-Law.com

ATTORNEY FOR (name): Breckenridge Property Fund 2016, LLC
7 ATTORNEY FOR [X_] ORIGINAL JUDGMENT CREDITOR (_] _Assionee OF RECORD

305-0555

ap CODE: 91016

FOR COURT USE ONLY

SUPERIOR COURT OF CALIFORNIA, COUNTY OF RIVERSIDE ott
505 South Buena Vista Avenue Suite 201 ‘

STREET ADOREES:
MAILING ADORESS:
CITY ANO ZIP CODE:
BRANCH NAME:

Corona CA 92882
CORONA

ci

PLAINTIFFIPETITIONER: Breckenridge Property Fund 2016, LLC
DEFENDANTIRESPONDENT: Juan Marquis Johnson, et al

CASE

NUMBER:
UDC02400050

(_] EXECUTION (Money Judgment)
WRIT OF {__] POSSESSION OF

7) SALE

(_) Personal Property
[X_] Real Property

Limited Civil Case
(including Small Claims)

[__] Unlimited Civil Case
{including Family and Probate)

1. To the Sheriff or Marshal of the County of: RIVERSIDE
You are directed to enforce the judgment described below with daily interest and your costs as provided by law.

To any registered process server: You are authorized to serve this writ only in accordance with CCP 699.080 or CCP 715.040.
(Name): Breckenridge Property Fund 2016, LLC

isthe (X_] original judgment creditor [—] assignee ofrecord whose address is shown on this form above the court's name.

natural person, and Jast known address):

| Juan Marquis Johnson

5867 Horse Canyon Road
Riverside, CA 92509

L Additional judgment debtors on next page
5. Judgment entered on (date): 04/23/24

(See type of judgment in item 22.)
6. [C7] Judgment renewed on (dates):

7. Notice of sale under this writ:
a. [_] has not been requested.
b. (_] has been requested (see next page).

8. [C7] Joint debtor information on next page.

Judgment debtor (name, type of legal entity 1 not

|

a 9 (X-] Wiitof PossessionMnit of Sale information on next page.
10.((] This writ is issued on a sister-state judgment
For items 11-17, see form MC-012 and form MC-013-INFO.

44, Total judgment (as entered or renewed) $
| 12. Costs after judgment (CCP 685.090) $ possession only
13. Subtotal (add 11 and 12) $
14. Credits to principal (after crevit to interest) = $

45. Principal remaining due (subtract 14 from 13) $

16. Accrued interest remaining due per $
CCP 685.05Q(b) (not on GC 6103.5 fees)

47. Fee for issuance of writ (per GC 70826(a}())) $ 40.00
18. Total amount due (add 15, 16, and 17) $ 40.00

19. Levying officer:
a. Add dally interest from date of writ (at
the legal rate on 15) (not on
GC 6103.5 foes) ......... 0. eee ee
b. Pay directly to court costs included in
41 and 17 (GC 6103.§, 68637;
CCP 699.520()) $ 0.00

20.(C_] The amounts called for in items 11-19 are different for each
debtor. These amounts are stated for each debtor on

$ 0.00

wee meme roe ee enenn

Attachment 20.
c
wy
Date; 04/26/2024 Clerk, by __, Deputy
NOTICE TO PERSON SERVED: SEE PAGE 3 FOR IMPORTANT INFORMATION. |
GC68150(q) Page tof
Form Approved ter Optional Use WRIT OF EXECUTION Code cf Ci! Procedure, $§ 609.520, 712010, risere
E4130 (Rav. September 1, 20203 www.couts.ca. gov

‘@

Case 6:24-bk-12650-RB Doc5 Filed 05/14/24 Entered 05/14/24 13:35:43 Desc .
Main Document Page 4 of 10 3 .

EJ-130

Piaintiff/Petitioner: Breckenridge Property Fund 2018, LLC CASE NUMBER:

DefendantRespondent: juan Marquis Johnson, et al UDCO2400050

21.[[_] Additional Judgment debtor(s) (name, type of legal entity if not a natural person, and last known address):

[ “| OU
L Job
22. The judgment Is for (check ona):

a. [__] wages owed.
b. [__] child support or spousal support. ~
c, [X_] other,

23.[_] Notice of sale has been requested by (name end addrass):

[ ~] Of |
L JL _

24.[[__] Joint debtor was declared bound by tha judgment (CCP 989-984) '

|

a. an (date): a. on (date):
b. name, type of legal entity if not a natural parson, and b. name, type of tegal entity if not a natural person, and
last known address of joint debtor. last known address of folnt debter:

[ ] OL |
L_ Jok Ld

c. (] Additional costs against certain joint debtors are itemized: [_] below ((—] on Attachment 24e.

25. [X_] (Writ of Possession of Writ of Sate) Judgment was entered for the following:

a. [%7] Possession of real proparty: The complaint was filed on (date): 01/10/24
{Cheek (1) or (2). Check (3) if applicable. Complete (4) if (2) or (3) have been checked.)

(1) The Prejudgment Claim of Right to Possession was served in compliance with CCP 415.48. The
judgment Includes all tenants, subtenants, named claimants, and other occupants of the premises.

(2) [_] The Prejudgment Claim of Right to Possession was NOT served in compliance with CCP 415.48,

(3) [X_] The unlawful detainer resulted from a foreciosure sale of a rental housing unit. (An occupant not named in the
judgment may file a Claim of Right to Possession at any time up to and including the tima the levying officer returns
to effect eviction, regardiess of whether a Prejudgment Claim of Right to Possession was served.) (See CCP
415,46 and 1174.3(a}{2).)

(4) Ifthe unlawful detainer resulted from a foreclosure (item 25a(3)), or if the Prejudgment Claim of Right to Possession was
\ net served in compliance with CCP 415.46 ([tem 26a(2)), answer the following:

(a) The dally rental valua on the date the complaint was filed was $ 120.00
(b) The court wil hear objections to enforcement of the judgment under CCP 1174.3 on the following dates (specify):
To be set pursuant to CCP 1174.3 Every Tuesday and Thursday at 1:30 PM

Item 25 continued on next page

EJ-130 (Rov. Sepiomber 1, 20260] . WRIT OF EXECUTION go ang ; Pago 2ots
Case 6:24-bk-12650-RB Doc5 Filed 05/14/24 Entered 05/14/24 13:35:43 Desc
Main Document Page 5 of 10

7. e

PlaintifffPetitionar: Breckenrid —__EJ-139
: Breckenridge Property Fund 2016, LLC CASE NUMBER:

DefendanRespondent. Juan Marquis Johnson, et a! UDCO2400050

25.b, [(_] Possession of personal property.
[-] It delivery cannot be had, then for the vatue (itemize in 258) specified in the judgment or supplemental order.
c (__] Sale of personal property.
d. (] Sate of real proparty.
@. The property is described  [X_] below [_] on Attachment 25a.

the premises located at:

$867 Horse Canyon Road, Riverside, CA 92509, County of RIVERSIDE

NOTICE TO PERSON SERVED
WRIT OF EXECUTION OR SALE. Your rights and duties are indicated on the accompanying Notice of Levy (form &J-150).

WRIT OF POSSESSION OF PERSONAL PROPERTY. If the levying officer is not able to take custody of the property, the levying
officer will demand that you turn over the property. If custody Is not obtained folowing demand, the judgment may be enforced a5 a
money judgment for the value of the property specified in the fudgment or in a supplemental order.

WRIT OF POSSESSION OF REAL PROPERTY. If the premises are not vacated within five days after the date of service on the
occupant or, If service is by pasting, within five days after service on you, the levying officar will remove the occupants from the real
property and place the Judgment creditor in possession of the property. Except for a mobite home, personal property remaining on the
premises will be sold or otherwise disposed of In aceardance with CCP 1174 unless you or tha owner of the property pays the

__ {Judgment creditor the reasonable cost of storage and takes possession of the personal property not later than 15 days after tha time
the judgment creditor takes possession of the premises.

EXCEPTION IF RENTAL HOUSING UNIT WAS FORECLOSED. If the residential property that you are renting was sold Ina
foreclosure, you have additional time before you must vacate the premises. If you have a lease for a fixed term, such as for a year, you
may remain in the property until the term is up. If you have a periodic lease or tanancy, such as from month-to-month, you may remain
in the property for 90 days afler recalving a notice to quit. A blank form Clein of Right to Passession and Notice of Hearing (form

CP 10) accompanies this writ. You may claim your right to remain on the property by filling it out and giving It to the sherlff of levying
officar.

EXCEPTION IF YOU WERE NOT SERVED WITH A FORM CALLED PREJUDGMENT CLAIM OF RIGHT TO POSSESSION. If you
were not named in the judgment for possession and you occupiad the premises on the date on which the untawful detainer case was
filed, you may object fo the enforcement of the Judgment against you. You must complete the form Claim of Right to Possession and
Notice of Hearing (form CP10) and give it to the sheriff or levying officar. A blank form accompanies this writ. You have this right
whether or not the property you are renting was sold in a foreclosure.

£1.10 (Rev. Seplember 1, 2020] WRIT OF EXECUTION PagoSofs
Case 6:24-bk-12650-RB Doc5 Filed 05/14/24 Entered 05/14/24 13:35:43 Desc .
Main Document Page 6 of 10

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Case 6:24-bk-12650-RB Doc5_ Filed 05/14/24 Entered 05/14/24 13:35:43 Desc

. . Main Document Page 7 of 10
CP10
CLAIMANT OR CLAIMANT'S ATTORNEY (Name and Address): FOR COURT USE ONLY
TELEPHONE NO.: FAX NO.:
E-MAIL ADDRESS:
ATTORNEY FOR (Name):
SUPERIOR COURT OF CALIFORNIA, COUNTY OF Riverside
street aovress: 505 S. Buena Vista Ave Suite 201
MAILING ADDRESS:
city AND zip cove: Corona, CA 92882
arancy name: Riverside Superior Court
PLAINTIFF/PETITIONER: Breckenridge Property Fund 2016, LLC COURT CASE NUMBER:
DEFENDANTIRESPONDENT: Juan Marquis Johnson UDCO02400050
CLAIM OF RIGHT TO POSSESSION LEVYING OFFICER FILE NUMBER:
AND NOTICE OF HEARING 2024102878
Complete this form only if ALL of these statements are true: {for levying officer use only)
4. You are NOT named in the accompanying form called Writ of Possession. Completed form was received on
2. You occupied the premises on or before the date the unlawful detainer /
(eviction) action was filed. (The date is in the accompanying Writ of Possession.) Date: Time:
3. You still occupy the premises.
4. A Prejudgment Claim of Right to Possession form was NOT served with the By:
Summons and Complaint, OR this eviction results from a foreclosure.
|NOTICE: if you are being evicted because of foreclosure, you have additional rights and should seek legal assistance immediately. |

| DECLARE THE FOLLOWING UNDER PENALTY OF PERJURY:

1. My name is (specify):

2. | reside at (street address, unit No., city and Z/P code):

3. The address of “the premises” subject to this claim is (address):

Cc] Check here if this property was foreciosed on

4. On (insert date). —___— _ the owner, jandlord or the landlord's authorized agent filed a complaint
to recover possession of the premises. (This date is in the accompanying Writ of Possession.)

5. occupied the premises on the date the complaint was filed (the date in item 4). | have continued to occupy the premises ever since.
6. | was at least 18 years of age on the date the complaint was filed (the date in item 4).

7. | claim a right to possession of the premises because | occupied the premises on the date the complaint was filed (the date in item 4)
8. | was not named in the Writ of Possession.

9. | understand that if | make this claim of possession, a court hearing will be held to decide whether my claim will be granted.

10. (Filing fee) To obtain a court hearing on my claim, | understand that after | present this form to the levying officer | must go to the
court and pay a filing fee of $225 or file with the court “Application for Waiver of Court Fees and Costs." | understand that if | don't
pay the filing fee or file the form for waiver of court fees within 2 court days, the court will immediately deny my claim.

11. (Immediate court hearing unless you deposit 15 days’ rent) To obtain a court hearing on my claim, | understand | must also
present a copy of this completed complaint form or a receipt from the levying officer. | also understand the date of my hearing
will be set immediately if ! don't deliver to the court an amount equal to 15 days’ rent.

(Continued on Reverse)

CP10 (Rev. July 1, 2017) CLAIM OF RIGHT TO POSSESSION Code of Civit Procedure, §§ 715.010, 715.020, 1174.3
AND NOTICE OF HEARING 914766

Case 6:24-bk-12650-RB Doc5 Filed 05/14/24 Entered 05/14/24 13:35:43 | Desc’

Main Document Page 8 of 10 .
CP10
SHORT TITLE: LEVYING OFFICER FILE NO.: COURT CASE NO..:
Breckenridge Property Fund 2016, LLC vs. Juan Marquis Johnson 2024102878 UDCO2400050
12. | am filing my claim in the following manner (check the box that shows how you are filing your claim. Note that you must deliver to
the court a copy of the claim form or a levying officer's receipt):

a. CJ | presented this claim form to the sheriff, marshal, or other levying officer, AND within two court days | shall deliver to the
court the following: (1) a copy of this completed claim form or a receipt, (2) the court filing fee or form for proceeding in
forma pauperis, and (3) an amount equal to 15 days’ rent; or

b. CJ | presented this claim form to the sheriff, marshal, or other levying officer, AND within two court days | shall deliver to the
court (1) a copy of this completed claim form or a receipt, and (2) the court filing fee or form for proceeding in forma
pauperis.

IMPORTANT: Do not take a copy of this claim form to the court unless you have first given the form to the sheriff, marshal, or
other levying officer.
(To be completed by the court)
Date of hearing: Time: Dept. or Div.: Room:
Address of court:
| NOTICE: If you fail to appear at this hearing you will be evicted without further hearing.
13. Rental agreement: | have (check ail that apply to you):
a. Cc] an oral rental agreement with the landlord.
b. Cc] a written rental agreement with the landlord.
Cc. C_] an oral rental agreement with a person other than the landlord.
d. C_] a written rental agreement with a person other than the landlord.
e. CI a rental agreement with the former owner who lost the property through foreclosure
f C_] other (explain):
| declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.
[ WARNING: Perjury is a felony punishable by imprisonment in the state prison. |
Date:
>
(TYPE OR PRINT NAME) {SIGNATURE OF CLAIMANT)
NOTICE: If your claim to possession is found to be valid, the unlawful detainer
action against you will be determined at trial. At trial, you may be found liable for
rent, costs, and, in some cases, treble damages.
- NOTICE TO OCCUPANTS -
YOU MUST ACT AT ONCE if all the following are true:
1. You are NOT named, in the accompanying form called Writ of Possession;
2. You occupied the premises on or before the date the unlawful detainer (eviction) action was filed; and
3. You still occupy the premises.
4. A Prejudgment Claim of Right to Possession form was NOT served with the Summons and Complaint, OR
you are being evicted due to foreclosure.
You can complete and SUBMIT THIS CLAIM FORM
(1) Before the date of eviction at the sheriff's or marshal's office located at (address):
4095 Lemon St., 4th Floor
Riverside, CA 92501
(2) OR at the premises at the time of the eviction. (Give this form to the officer who comes to evict you.)

If you do not complete and submit this form (and pay a filing fee or file the form for proceeding in forma pauperis if you cannot

pay the fee), YOU WILL BE EVICTED along with the parties named in the writ.

After this form is properly filed, AHEARING WILL BE HELD to decide your claim. If you do not appear at the hearing, you will

be evicted without a further hearing.

CP10 [Rev. July 4, 2017} CLAIM OF RIGHT TO POSSESSION Code of Civil Procedure, §§ 715.010, 715.020, 1174.3

AND NOTICE OF HEARING 914766
Case 6:24-bk-12650-RB Doc5 Filed 05/14/24 Entered 05/14/24 13:35:43 Desc
Main Document Page 9 of 10

STANDARD PROMISSORY NOTE

1. THE PARTIES. On March 26 2024, Breckenridge Property Fund 2016, llc of 710 S. Myrtle Ave.,
#600, Monrovia, California, 91016 with Sam Chandra acting as Attorney/ Agent, referred to as the
“Borrower”,

HAS RECEIVED AND PROMISES TO PAY:

One (1) individual known as JUAN MARQUIS JOHNSON of 5867 Horse Canyon Rd, Jurupa Valley,
California, 92509, referred to as the “Lender”, the sum of $684,000.00 US Dollars, referred to as the
"Borrowed Money", with interest accruing on the unpaid balance at a rate of 0 percent (%) per annum,
referred to as the "Interest Rate”, beginning on March 26 2024 under the following terms and
conditions:

2. PAYMENTS. The full balance of this Note, including any accrued interest and late fees, is due and
payable on March 26 2027, referred to as the "Due Date". The Borrowed Money shall be paid at any
time as long as it is before the Due Date and not in violation of any Prepayment Penalties as mentioned
in Section 6.

In addition, money that is not paid by the Borrower on time for any installment will continue to be
charged the Interest Rate stated in this Note.

3. SECURITY. There shall be no Security put forth by the Borrower in this promissory note.

4, INTEREST DUE IN THE EVENT OF DEFAULT. In the event the Borrower fails to pay the note
in full on the Due Date, the unpaid principal shall accrue interest at the maximum rate allowed by law
until the Borrower is no longer in default.

5. ALLOCATION OF PAYMENTS. Payments shall be first credited to any late fees due, then to
interest due and any remainder will be credited to principal.

6. PREPAYMENT. Borrower may prepay this Note without penalty.

7. ACCELERATION. If the Borrower is in default under this Note or is in default under another
provision of this Note, and such default is not cured within the minimum allotted time by law after
written notice of such default, then Lender may, at its option, declare all outstanding sums owed on this
Note to be immediately due and payable.

8. ATTORNEYS’ FEES AND COSTS. Borrower shall pay all costs incurred by Lender in collecting
sums due under this Note after a default, including reasonable attorneys’ fees. If Lender or Borrower
sues to enforce this Note or obtain a declaration of its rights hereunder, the prevailing party in any such
proceeding shall be entitled to recover its reasonable attorneys’ fees and costs incurred in the
proceeding (including those incurred in any bankruptcy proceeding or appeal) from the non-prevailing
party.

Page 1

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Case 6:24-bk-12650-RB Doc5 Filed 05/14/24 Entered 05/14/24 13:35:43 Desc
Main Document Page 10 of 10

9. WAIVER OF PRESENTMENTS. Borrower waives presentment for payment, a notice of dishonor,
protest, and notice of protest.

10. NON-WAIVER. No failure or delay by Lender in exercising Lender’s rights under this Note shall
be considered a waiver of such rights.

11. SEVERABILITY. In the event that any provision herein is determined to be void or unenforceable
for any reason, such determination shall not affect the validity or enforceability of any other provision,
all of which shall remain in full force and effect.

12. INTEGRATION. There are no verbal or other agreements that modify or affect the terms of this
Note. This Note may not be modified or amended except by a written agreement signed by Borrower
and Lender.

13. CONFLICTING TERMS. The terms of this Note shall have authority and precedence over any
conflicting terms in any referenced agreement or document.

14. NOTICE. Any notices required or permitted to be given hereunder shall be given in writing and
shall be delivered (a) in person, (b) by certified mail, postage prepaid, return receipt requested, (c) by
facsimile, or (d) by a commercial overnight courier that guarantees next day delivery and provides a
receipt, and such notices shall be made to the parties at the addresses listed below.

15. GUARANTORS. There shall be no person or entity, under the terms of this Note, that shall be
responsible for the payment, late fees, and any accrued interest other than the Borrower.

16. EXECUTION. The Borrower executes this Note as a principal and not as a surety. If there is a Co-
Signer, the Borrower and Co-Signer shall be jointly and severally liable under this Note.

17. GOVERNING LAW. This note shall be governed under the laws in the State of California.

With my signature below, I affirm that I have read and understood this promissory note.

Borrower's Signature: Date:
Breckenridge Property Fund 2016, lic with Sam Chandra acting as Attomey/ Agent

f f
{ome

Lender's Signature: ce Ni 4 Date: NARCH Zip 2074

Print Name: JUAN MARQUIS JORNSON
Exteurenm “ASeror

gate aston ees coS ei a orate ur stNg i :

= =e | ,

jel SO el ey
seattle hel Asai

= elk 4p ;

9589 O710 5270 O96e Aya? 75

